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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                         PINE BLUFF DIVISION

DEMARCUS COLEY                                                              PLAINTIFF

v.                          Case No. 5:19-cv-00340 BSM

DELECUS ETHERLY                                                          DEFENDANT
                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 29th day of May, 2020.


                                                 UNITED STATES DISTRICT JUDGE
